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                              Exhibit 1
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         Case: 1:25-cv-04203 Document #: 1-1 Filed: 04/17/25 Page 8 of 23 PageID #:16
Certificate of Registration
        sTATEs            This Certificate issued under the seal of the Copyright
                          Office in accordance with title 17, United States Code,
                          attests that registration has been made for the work
                          identified below. The information
                                                               on this certificate has    Registration Number
                          been made a part of the Copyright Office records.
                                                                                          VA 2-414-824
                                                                                          Effective Date of Registration:
        1870
    •          •



                                                                                          April 12, 2024
                                                                                          Registration Decision Date:
                          United States Register of Copyrights and Director
                                                                                          September 27, 2024




   Title

                             Title of Work:      Jenson



   Completion/Publication
                       Year of Completion:       2021
                    Date of 1st Publication:     October 18, 2021
                   Nation of ISt Publication:    Hungary


   Author

                                     Author:     Abraham Sandor Szomor
                               Pseudonym:        popcult posters
                           Author Created:       2-D artwork
                                  Citizen of:    Hungary
                            Pseudonymous:        Yes


   Copyright Claimant

                      CopyrightC!aimant:         AbrahanvSandor Szomor
                                                 Tassi ut 59, Domsod, 2344, Hungary

   Limitation of copyright claim

        Material excluded from this claim:       photograph of protagonist's helmet

          New material included in claim:        2-D artwork, collage, all other elements, including the gradient background.


    Rights and Permissions

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                                     Email:      szomorab@gmail.com
                                   Address:      Tassi ut 59
                                                 Domsod 2344 Hungary



                                                                                                                        Page 1 of 2
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Certificate of Registration
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        sTATES           This Certificate issued under the seal of the Copyright
                         Office in accordance with title 17, United States Code,
                         attests that registration has been made for the work
                         identified below. The information on this certificate has      Registration Number
                         been made a part of the Copyright Office records.
                                                                                        VA 2-414-673
                                                                                        Effective Date of Registration:
        1870•                                                                           April 12, 2024
                                                                                        Registration Decision Date:
                         United States Register of Copyrights and Director              September 26, 2024




  Title

                           Title of Work:     Jochen



  Completion/PubIication
                     Year of Completion:      2020
                  Date of 1st Publication:    October 18, 2021
                 Nation of ISt Publication:   Hungary


  Author

                                  Author:     Abraham Sandor Szomor
                             Pseudonym:       popcult posters
                         Author Created:      2-D artwork
                                Citizen of:   Hungary
                          Pseudonymous:       Yes


  Copyright Claimant

                    Copyright
                                              Tassi ut 59, Domsod, 2344, Hungary

  Limitation of copyright claim

    Material excluded from this claim:        photograph of protagonist's helmet

          New material included in claim:     2-D artwork, collage, all other elements, including the gradient background.


   Rights and Permissions

                                   Name:      Abraham Sandor Szomor
                                   Email:     szomorab@gmail.com
                                 Address:     Tassi ut 59
                                              Domsod 2344 Hungary



                                                                                                                    Page 1 of 2
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         Case: 1:25-cv-04203 Document #: 1-1 Filed: 04/17/25 Page 16 of 23 PageID #:24
Certificate of Registration

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                           identified below. The information on this certificate has
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                           been made a part of the Copyright Office records.
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        1870
               •                                                                          Effective Date of Registration:
                                                                                          April 12, 2024
                                                                                          Registration Decision Date:
                          United States Register of Copyrights and Director               September 27, 2024




   Title

                             Title of Work:     Fernando



   Completion/PubIication
                       Year of Completion:      2021
                    Date of 1st Publication:    October 18, 2021
                   Nation of ISt Publication:   Hungary


   Author

                                     Author:    Abraham Sandor Szomor
                               Pseudonym:       popcult posters
                           Author Created:      2-D artwork
                                  Citizen of:   Hungary
                            Pseudonymous:       Yes


   Copyright Claimant

                                                           SandorSzom
                                                Tassi ut 59, Domsod, 2344, Hungary

   Limitation of copyright claim

        Material excluded from this claim:      photograph of protagonist's helmet

          New material included in claim:       2-D artwork, collage, all other elements, including the gradient background.


    Rights and Permissions

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                                      Email:    szomorab@gmail.com
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                                                Domsod 2344 Hungary



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        Case: 1:25-cv-04203 Document #: 1-1 Filed: 04/17/25 Page 22 of 23 PageID #:30
Certificate of Registration
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        OATES            This Certificate issued under the seal of the Copyright
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                         attests that registration has been made for the work
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                                                              on this certificate has       Registration Number
                         been made a part of the Copyright Office records.
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        1870•
                                                                                            April 12, 2024
                                                                                            Registration Decision Date:
                         United States Register of Copyrights and Director
                                                                                            September 26, 2024




   Title

                           Title of Work:         Mario


   Completion/Publication
                      Year of Completion:         2021
                  Date of 1st Publication:        October 18, 2021
                 Nation of ISt Publication:       Hungary


   Author

                                 Author:          Abraham Sandor Szomor
                             Pseudonym:           popcult posters
                         Author Created:          2-D artwork
                                Citizen of:       Hungary
                          Pseudonymous:           Yes


   Copyright Claimant


                                                  Tassi ut 59, Domsod, 2344, Hungary

   Limitation of copyright claim

        Material excluded from this claim:        photograph of protagonist's helmet

          New material included in clam :         2-D artwork, collage, all other elements, including the gradient background.
                                         •
                                              -




    Rights and Permissions

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                                                  Domsod 2344 Hungary



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